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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY
                                     CAMDEN DIVISION

THE INDEPENDENCE PROJECT, INC., a New
Jersey Non-Profit Corporation, and DENNIS
MAURER, Individually,

                 Plaintiffs,                                 Case No.
vs.

WAYSIDE VILLAGE CONDOMINIUM
ASSOCIATION, INC., a New Jersey Non-Profit
Corporation,

                 Defendant.

                                          COMPLAINT


        Plaintiff, THE INDEPENDENCE PROJECT, INC., a New Jersey Non-Profit

Corporation, and DENNIS MAURER, Individually, on their behalf and on behalf of all other

mobility impaired individuals similarly situated, (sometimes referred to as "Plaintiff' or

"Plaintiffs"),   hereby sue     the   Defendant,       WAYSIDE VILLAGE CONDOMINIUM


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ASSOCIATION, INC., (sometimes referred to as "Defendant"), for Injunctive Relief, damages,

attorney's fees, litigation expenses, and costs pursuant to the Americ ans with Disabilities Act, 42

U.S.C. § 12181 et seq. ("ADA") and the New Jersey Law Against Discrimination (N.J.S.A.).

                                 COUNT I
                       VIOLATION OF TITLE III OF THE
             AMERICANS WITH DISABILITIES ACT, 42 USC § 12181, etsea.

1.     Plaintiff, DENNIS MAURER, is an individual residing at 8 Prospect Avenue, Egg

       Harbor, NJ 08234, in the County of Atlantic.

2.     Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit corporation formed

       under the laws of the State of New Jersey. THE INDEPENDENCE PROJECT, INC.

       maintains its principal office at 1002 Central Ave., New Providence, NJ 07974, in the

       County of Union.

3.     Defendant, WAYSIDE VILLAGE CONDOMINIUM ASSOCIATION, INC., is the

       operator of the common areas of the Wayside Village Condominium.

4.     The Wayside Village Condominium, is located at 38 - 64 Tuckahoe Road , Marmora, NJ

       08223, in the County of Cape May, and does business as the Wayside Village Shopping

       Center.

5.     Venue is properly located in the District of New Jersey because venue lies in the judicial

       district of the property situs. The Defendant's property is located in and does business

       within this judicial district.

6.     Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given original

       jurisdiction over actions which arise from the Defendant's violations of Title III of the

       Americans with Disabilities Act, 42 U.S.C. § 12181 et secj. See also 28 U.S.C. § 2201

       and § 2202.




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7.    Plaintiff, Dennis Maurer is a New Jersey resident, is sui juris, and qualifies as an

      individual with disabilities as defined by the ADA. Mr. Maurer has multiple sclerosis,

      and relies on a wheelchair for mobility. Dennis Maurer has visited the property which

      forms the basis of this lawsuit on numerous occasions and plans to return to the property

      in the near future to avail himself of the goods and services offered to the public at the

      property. The Plaintiff has encountered architectural barriers at the subject property. The

      barriers to access at the property have endangered his safety. The Plaintiff is also a

      member of the Plaintiff organization, THE INDEPENDENCE PROJECT, INC.,

      discussed below in paragraph 8.

8.    Plaintiff, THE INDEPENDENCE PROJECT, INC., is a nonprofit New Jersey

      corporation. Members of this organization include individuals with disabilities as defined

      by the ADA. The purpose of this organization is to represent the interes t of it s members

      by assuring places of public accommodation are accessib le to and usable by the disabled

      and that its members are not discriminated against because of their disabilities.

9.    THE INDEPENDENCE PROJECT, INC. and its members have suffered and will

      continue to suffer direct and indirect injury as a result of the Defendant's discrimination

      until the Defendant is compelled to comply with the requirements of the ADA. One or

      more of its members has suffered an injury that would allow it to bring suit in its own

      right. THE INDEPENDENCE PROJECT, INC. has also been discriminated against

      because of its association with its disabled members and their claims.

10.   Defendant owns, leases, leases to, or operates a place of public accommodation as

      defined by the ADA and the regulations implementing the ADA, 28 CFR 36.201(a) and

      36.104. Defendant is responsible for complying with the obligations of the ADA. The




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      place of public accommodation that the Defendant owns, operates, leases or leases to is

      known as Wayside Village Shopping Center, and is located at 38 - 64 Tuckahoe Road,

      Marmora, NJ 08223.

11.   THE INDEPENDENCE PROJECT, INC. and Dennis Maurer have a realistic, credible,

      existing and continuing threat of discrimination from the Defendant's non-compliance

      with the ADA with respect to this property as described but no t necessarily limited to the

      allegations in paragraph 13 of this Complaint. Plaintiffs have reasonable grounds to

      believe that they will continue to be subjected to discriminati on in violation of the ADA

      by the Defendant. Dennis Maurer desires to visit Wayside Village Shopping Center not

      only to avail himself of the goods and services available at the property but to assure

      himself that this property is in compliance with the ADA so that he and others similarly

      situated will have full and equal enjoyment of the property without fear of discrimination.

12.   The Defendant has discriminated against the individual Plaintiff and members of the

      corporate Plaintiff organization by denying them access to, and full and equal enjoyment

      of the goods, services, facilities, privileges, advantages and/or accommodations of the

      buildings, as prohibited by 42 U.S.C . § 12182 et seq.

13.   The Defendant has discriminated, and is continuing to discriminate, against the Plaintiff

      in violation of the ADA by failing to, inter alia, have accessible facilities by January 26,

      1992 (or January 26, 1993, if Defendant has 10 or fewer employees and gross receipts of

      $500,000 or less). A preliminary inspection of Wayside Village Shopping Center has

      shown that violations exist. These violations that Denn is Maurer personally encountered

      or observed include, but are not limited to:
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      Parking and Exterior Accessible Route

          a) Parking spaces throughout Wayside Village Shopping Center are not maintained; lack
             adequate access aisles, violating Sections 502 and 502.4 of the 2010 Accessibility
             Standards. These conditions during numerous visits prevented Mr. Maurer from
             unloading from his van freely and safely. On certain occasions he would park away from
             the plaza to insure he could access his van.

          b) Curb ramps provided to access stores at Wayside Village Shopping Center are unsafe for
             Mr. Maurer and are not provided in some areas of the center. The curb ramps contain
             excessive slopes, abrupt changes of level and lack level landings, violating Sectio ns 402
             and 406 of the 2010 Accessibility Standards. Mr. Maurer dealt with a lack of
             maneuvering spac e at the top of the curb ramp. These conditions are unsafe for Mr.
             Maurer when he accesses the curb ramps.

         c) The exterior accessible route from at Wayside Village Shopping Center fails to provide a
            safe accessible route throughout the center, violating Section 402 of the 2010
            Accessibility Standards. Mr. Maurer was forced to travel in the traffic area of the center
            to get from parcel to parcel.

         d) Wayside Village Shopping Center fails to provide a safe accessible route to the adjacent
            street or sidewalk, violating Section 206.2.1 of the 2010 Accessibility Standards. The
            lack of an accessible route prevented the option of public transportation for Mr. Maurer.

      Access to Goods and Services

         e) Village Kitchen fails to provide accessible dining tables for those in wheelchairs,
            violating Section 902 of the 2010 Accessibility Standards. Mr. Maurer was unable to
            dine comfortably due to a lack of accessible tables.

         f) Payment counters throughout Wayside Village Shopping Ce nter are mounted beyond the
            reach of Mr. Maurer, violating Sections 308 and 904 of the 2010 Accessibility Standards.

         g) Entering Village Kitchen, Marmora Barber Shop, Village Pharmacy, law offices and
            other tenants is impeded by round door knobs, abrupt changes of level at the base and
            slopes beyond limits at the base, violating Section 404 of the 2010 Accessibility
            Standards. Round door knobs impede Mr. Maurer from easily accessing doors, levered
            door handles are required. Slopes and abrupt changes of level run the ris k of making Mr.
            Maurer tip back in his wheel chair.

14.   All of the foregoing violations are also violations of the 1991 Americans with Disabilities Act

      Accessibility Guidelines (ADAAG), and the 2010 Standards for Accessible Design, as

      promulgated by the U.S. Department of Justice.




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15.   The discriminatory violations described in paragraph 13 are not an exclusive list of the

      Defendant's ADA violations. Plaintiffs require the inspection of the Defendant's place of public

      accommodation in order to photograph and measure all of the discriminatory acts violating the

      ADA and all of the barriers to access. The individual Plaintiff, the members of the Plaintiff

      group, and all other individuals similarly situated, have been denied access to, and have been

      denied the benefits of services, programs and activities of the Defendant's buildings and its

      facilities, and have otherwise been discriminated against and damag ed by the Defendant because

      of the Defendant's ADA violations, as set forth above. The individual Plaintiff, the members of

      the Plaintiff group and all others similarly situated will continue to suffer such discrimination,

      injury and damage without the immediate relief provided by the ADA as requested herein. In

      order to remedy this discriminatory situation, the Plaintiff requires an inspection of the

      Defendant's place of public accommodation in order to determine all of the areas of non­

      compliance with the Americans with Disabilities Act.

      16.    Defendant has discriminated against the individual and corporate Plaintiffs by denying

             them access to full and equal enjoyment of the goods, services, facilities, privileges,

             advantages and/or accommodations of its place of public accommodation or commercial

             facility in violation of 42 U.S.C . § 12181 et seq. and 28 CFR 36.302 et seq. Furthermore,

             the Defendant continues to discriminate against the Plaintiff, and all those similarly

             situated by failing to make reasonable modifications in policies, practices or procedures,

             when such modifications are necessary to afford all offered goods, services, facilities,

             privileges, advantages or accommodations to individuals with disabilities; and by failing

             to take such efforts that may be necessary to ensure that no individual with a disa bility is

             excluded, denied services, segregated or otherwise treated differently than other




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      individuals because of the absence of auxiliary aids and services.

17.   Plaintiffs are without adequate remedy at law and are suffering irreparable harm.

      Considering the balance of hardships between the Plaintiffs and Defendant, a remedy in

      equity is warranted.    Furthermore, the public interest would not be disserved by a

      permanent injunction.

18.   Plaintiffs have retained the undersigned counsel and is entitled to recover attorney's fees,

      costs and litigation expenses from the Defendant pursuant to 42 U.S.C. § 12205 and 28

      CFR 36.505.

19.   Defendant is required to remove the existing architectural barriers to the physically

      disabled when such removal is readily achievable for its place of public accommodation

      that have existed prior to January 26, 1992, 28 CFR 36.304(a); in the alternative, if there

      has been an alteration to Defendant's place of public accommodati on since January 26,

      1992, then the Defendant is required t o ensure to the maximum extent feasible, that the

      altered portions of the facility are readily accessible to and useable by individuals with

      disabilities, including individuals who use wheelchairs, 28 CFR 36.402; and finally, if the

      Defendant's facility is one which was designed and constructed for first occupancy

      subsequent to January 26, 1993, as defined in 28 CFR 36.401, then the Defendant's

      facility must be readily accessible to and useable by individuals with disabilities as

      defined by the ADA.

20.   Notice to Defendant is not required as a result of the Defendant's failure to cure the

      violations by January 26, 1992 (or January 26, 1993, if Defendant has 10 or fewer

      employees and gross receipts of $500,000 or less). All other conditions precedent have

      been met by Plaintiffs or waiv ed by the Defendant.




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21.   Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant Plaintiffs

      Injunctive Relief, including an order to require the Defendant to alter Wayside Village

      Shopping Center to make its facilities readily accessible an d useable to the Plaintiffs and

      all other persons with disabilities as defined by the ADA; or by closing the facility until

      such time as the Defendant cures its violations of the ADA.

WHEREFORE, Plaintiffs respectfully request:

      a.     The Court issue a Declaratory Judgment that determines tha t the Defendant at the

             commencement of the subject lawsuit is in violation of Title III of the Americans

             with Disabilities Act, 42 U. S.C. § 12181 et seq.

      b.     Injunctive relief against the Defendant including an order to make all readily

             achievable alterations to the facility; or to make such facility readily accessib le to

             and usable by individuals with disabilities to the exten t required by the ADA; and

             to require the Defendant to make reasonable modifications in policies, practices or

             procedures, when such modifications are necessary to afford all offered goods,

             services, facilities, privileges, advantages or accommodations to individuals with

             disabilities; and by failing to take such steps that may be necessary to ensure that

             no individual with a disability is excluded, denied services, segregated or

             otherwise treated differently than other individuals because of the absence of

             auxiliary aids and services.

      c.     An award of attorney's fees, costs and litigation expenses pursuant to 42 U.S.C.

            § 12205.

      d.     Such other relief as the Court deems just and proper, and/or is allowable under

             Title III of the Americans with Disabilities Act.




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                               COUNT II
          VIOLATION OF NEW JERSEY LAW AGAINST DISCRIMINATION

22.    Plaintiffs re-allege all prior obligations as if fully set forth herein. Plaintiffs repeat the

       allegations contained in all of the proceeding paragraphs.

23.    Defendant's facility is a place of public accommodation as defi ned by N.J.S.A. 10:5-5,

       (New Jersey Law Against Discrimination).

24.    New Jersey law provides that all persons shall have the opportunity to obtain all the

       accommodations, advantages, facilities and privileges of any place of public

       accommodation without discrimination on the basis of disability. This opportunity is

       recognized and declared to be a civil right. (See, N.J.S.A. 10:5-4.)

25.    As a result of the aforementioned discrimination, Plaintiff Dennis Maurer has sustained

       emotional distress, mental anguish, suffering and humiliation, and other injuries, in

       violation of the New Jersey Law Against Discrimination.

       WHEREFORE, Dennis Maurer demands judgment for damages, attorney's fees,

litigation expenses, including expert fees and costs pursuant to the New Jersey Law Against

Discrimination.



Respect


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